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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7

                                   8     JUANITA RYAN, et al.,                               Case No. 24-cv-08426-VKD
                                                         Plaintiffs,
                                   9
                                                                                             ORDER TO SHOW CAUSE RE
                                                  v.                                         MEDIATION
                                  10

                                  11     VOLKSWAGEN GROUP OF AMERICA,
                                         INC.,
                                  12
Northern District of California




                                                         Defendant.
 United States District Court




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                                  14          On February 25, 2025, the Court issued a case management order setting (among other

                                  15   dates) a May 27, 2025 deadline for mediation. Dkt. No. 15. A May 21, 2025 docket entry

                                  16   indicates that the parties have set a June 6, 2025 mediation hearing “subject to court approval of an

                                  17   anticipated stipulation to extend the mediation deadline.” The May 27, 2025 mediation deadline

                                  18   has passed, and the parties have not filed a request to extend that deadline. By May 30, 2025 the

                                  19   parties shall file a statement explaining their failure to comply with the May 27, 2025 deadline

                                  20   and, if appropriate, a request for relief from that deadline.

                                  21          IT IS SO ORDERED.

                                  22   Dated: May 28, 2025

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                                                                                                       Virginia K. DeMarchi
                                  25                                                                   United States Magistrate Judge
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